        Case 3:20-cv-03866-JCS Document 8 Filed 06/15/20 Page 1 of 2



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     Attorneys for Defendant
 6   CITY OF OAKLAND
 7

 8                        UNITED STATES DISTRICT COURT
 9                     NORTHERN DISTRICT OF CALIFORNIA
10                                SAN FRANCISCO DIVISION
11

12   ANTI POLICE-TERRO PROJECT,                 Case No. C 20-3866 JSC
     COMMUNITY READY CORPS, et al.
13                                              STIPULATION RE TEMPORARY
                    Plaintiffs,                 RESTRAINING ORDER
14                                              APPLICATION; [PROPOSED]
           v.                                   ORDER
15

16   CITY OF OAKLAND, et al.

17                  Defendants.

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     STIPULATION AND PROPOSED ORDER         1                            C 20-3866 JSC
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 1         Pursuant to Local Rule 7-12, Plaintiffs and the City of Oakland respectfully
 2   submit this Stipulation and Proposed Order.
 3         1.     On June 13, 2020, Plaintiffs served the Verified Application for a
 4   Temporary Restraining Order and Class Action Complaint for Damages and Injunctive
 5   and Declaratory Relief, Dkt. No. 1, on the City of Oakland.
 6         2.     Plaintiffs will supplement their TRO application by June 17, 2020.
 7         3.     If the Court issues an Order to Show Cause, the City will submit its
 8   response to the TRO application by June 24, 2020.
 9         4.     The matter will not be heard on June 24, 2020.
10         5.     This stipulation may be modified with the Court’s consent if a party
11   deems it necessary to do so as a result of unfolding events in Oakland.
12         SO STIPULATED.
13

14   Dated: June 15, 2020                     Respectfully submitted,
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                                       BARBARA J. PARKER, City Attorney
16                                     DAVID A. PEREDA, Special Counsel
17
                                By:    _______/s/ David Pereda___
18                                     Attorneys for Defendant
                                       CITY OF OAKLAND
19
                                      DAN SIEGEL
20                                    SIEGEL, YEE, BRUNNER & MEHTA
21                              By:      /s/Dan Siegel
                                       Attorneys for Plaintiffs
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23   PURSUANT TO STIPULATION, IT IS SO ORDERED.
24

25   Dated:                                   ______________________________________
                                              JOSEPH C. SPERO
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27   *Per Local Rule 5-1(i)(3), the filer attests that concurrence in the filing of the
     document has been obtained from each of the other Signatories
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     STIPULATION AND PROPOSED ORDER              2                                 C 20-3866 JSC
